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                      4                        UNITED STATES DISTRICT COURT

                      5                       EASTERN DISTRICT OF CALIFORNIA

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                      7 UNITED STATES OF AMERICA,

                      8               Plaintiff,                 CR 07-59 LKK

                      9         v.                               ORDER FOR
                                                                 RETURN OF PASSPORT
                      10 IVY JUNG TRAN,

                      11              Defendant.
                                                        /
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                      13        Upon request of defendant and good cause appearing,

                      14        IT IS HEREBY ORDERED that the Clerk of the Court return

                      15 U.S. Passport No. 057200204 to Ivy Tran.          The Clerk is requested

                      16 to advise defendant's attorney, Omar Figueroa, 415/986-5591,

                      17 when the passport is available, and counsel will arrange for

                      18 defendant to personally pick up her passport from the Clerk's

                      19 Office.

                      20        Dated: October 20, 2008

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LAW OFFICES
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SAN FRANCISCO
  (415) 986-5591
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